              Case 3:25-cr-00215-RK
4/3/25, 1:08 PM                                Document      33-6 Filed
                                                ORGIT Mail - Clarification       04/04/25
                                                                           Regarding               Page
                                                                                     a Stop on the Way     1 of 1 PageID: 175
                                                                                                       to Synagogue



                                                                                                   Daniel Dadoun <daniel@orgit.ai>



  Clarification Regarding a Stop on the Way to Synagogue
  moshe bouskila <moshe@figphone.com>                                                        Tue, Apr 1, 2025 at 1:23 PM
  To: Daniel Dadoun <Daniel@orgit.ai>, "emunit@nyept.uscourts.gov" <emunit@nyept.uscourts.gov>

    Rabbi Moshe Bouskila
    Congregation Derech Hashem Sephardic
    2600 Ocean Avenue
    Brooklyn, NY 11229

    April 1st 2025

    To: Probation Officer Baio


    Subject: Clarification Regarding a Stop on the Way to Synagogue

    Dear Officer Baio,

    I am writing to clarify an occurrence on Saturday march 29th around 12:10 pm regarding Mr. Daniel
    Dadoun. On his way back from the Congregation Derech Hashem Sephardic for prayer services, Mr. Dadoun
    stopped at my residence, located 2056 east 21st Street, due to an urgent need to use the restroom.

    The reason for this stop was that the synagogue’s restrooms were clogged, and he faced an additional 30-
    minute walk without an available facility. Given the circumstances, I allowed him to use my restroom .

    Please feel free to reach out if any further clarification is required.

    Sincerely,

    Rabbi Moshe Bouskila

    Congregation Derech Hashem Sephardic

    Thank you.




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